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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )                 8:14CR225
       vs.                                      )
                                                )                   ORDER
                                                )
TERRY SIDIE, JAMES PETTRY, JAMIE                )
TRUJILLO and PAUL SWOBODA,                      )
                                                )
                      Defendants.


       This matter is before the court on defendant Jmie Trujillo’s unopposed motion for
continuance of trial [76] as defendant has recently entered a treatment facility and needs
addition time to complete the program. The court finds good cause being shown and the trial
shall be continued. The defendant has complied with NECrimR 12.1(a).

       IT IS ORDERED that the motion for continuance of trial [76] is granted, as follows:

     1. The jury trial, for all defendants, now set for November 4, 2014 is continued to
January 6, 2015.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between today’s date and January 6, 2015, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel for the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED October 17, 2014.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
